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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 GLORIA MACHADO, AS NEXT FRIEND                        §
 OF ANTHONY T. MACHADO and                             §
 MANLIO AMAYA, INDIVIDUALLY, AS                        §
 PERSONAL REPRESENTATIVE OF THE                        §
 ESTATE OF IVAN A. AMAYA,                              §
 DECEASED                                              §
                                                       §
         Plaintiff,                                    §
                                                       §
 V.                                                    §
                                                       § CAUSE NO. 18-282
 XPEDITE LOGISTICS, LLC,                               §
 CRETE CARRIER CORPORATION                             §
 D/B/A SHAFFER TRUCKING,                               §
 RONALD ANTHONY BEASLEY, and                           §
 JAMES ELY, JR.                                        §
                                                       §
         Defendants                                    §



                            DEFENDANTS’ NOTICE OF REMOVAL


TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES Crete Carrier Corporation, Defendant herein, and files this Notice of

Removal, removing this case to federal court under 28 U.S.C. §§ 1332, 1441 and 1446, and in

support there of, would show as follows:

                                            A. Introduction

          1.     This lawsuit arises out of an alleged motor vehicle accident. The accident is

alleged to have occurred in Denton, Denton County, Texas. (Plaintiff’s Original Petition, p. 4,

¶13.)

          2.     Plaintiffs are citizens of the State of Texas.




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         3.    Plaintiffs have named two trucking companies, including Crete Carrier as

Defendants. Neither is a Texas citizens. Plaintiffs have also named two drivers as Defendants.

Neither is a Texas citizen.

         4.    Plaintiffs’ pleadings state that they seek relief of $5,000,000.00 in this case.

(Plaintiff’s Original Petition, p. 18, ¶51.A.)

         5.    Thus, there is diversity of citizenship among the parties and Defendant Crete

Carrier, as the only Defendant to have been named and served, removes this case to federal

court under 28 U.S.C. §§ 1332, 1441 and 1446.

                                       B. Basis for Removal

         6.    Removal is proper under 28 U.S.C. §§ 1332, 1441 and 1446 because there is

complete diversity of citizenship and the amount in controversy exceeds $75,000 and this

removal is filed within 30 days after the service on Defendants.

         7.    There is complete diversity of citizenship as follows:

               (a)     Plaintiffs are Texas citizens. See Freeman v. Northwest Acceptance

       Corp., 754 F.2d 553, 555-56 (5th Cir. 1985).

               (b)     Defendant Crete Carrier Corporation is corporation organized and

       exiting under the laws of the State of Nebraska, with its principal place of business in

       Lincoln, Nebraska. Thus, it is a citizen of Nebraska and diverse from Plaintiffs. See 28

       U.S.C. § 1332(a).

         8.    Plaintiffs’ pleadings state that they seek relief in an amount of $5,000,000.

(Plaintiff’s Original Petition, p. 18, ¶51.A.) See S.W.S. Erectors Inc. v. Infax Inc., 72 F.3d 489,

492 (5th Cir. 1996) (removing defendant can rely on plaintiff’s statement of amount in

controversy); see also 28 U.S.C. § 1446(c).




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         9.     Defendant Crete Carrier’s notice of removal is timely, as it is filed within 30

days of its being served with a pleading stating a removable case. Alim v. KBR, Inc., No. 13-

11094, 2014 U.S. App. LEXIS 10508, at *4 (5th Cir. 2014) (unpub.) (30-day deadline for

removal runs from the defendant’s receipt of a pleading setting forth a removable claim).

         10.    Defendant Crete Carrier Corporation is the only named defendant that has been

served as of the date of this removal, making the consent of the other defendants to this

removal unnecessary. See 28 U.S.C. § 1446(b)(2) (requiring consent of all defendants joined

and served).

         11.    Copies of all pleadings, process, orders, and other filings in the state-court suit

will be submitted once received to support this notice as required by 28 U.S.C. §1446(a).

         12.    Venue is proper in this district under 28 U.S.C. §1441(a) because the state court

where the suit has been pending, the 14th Judicial District, is located in this district.

         13.    Defendants will promptly file a copy of this notice of removal with the clerk of

the state court where the suit has been pending.

                                         C. Jury Demand

         14.    Plaintiffs have demanded a jury trial, but it is not clear from the state court

docket if Plaintiffs have paid the jury fee.

                                           D. Conclusion

         15.    There is complete diversity of citizenship and the amount in controversy

exceeds $75,000. Thus, there is diversity jurisdiction over this matter and removal is proper as

set forth herein.




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the forgoing has been served on counsel
of record, on the 2nd day of February, 2018, as follows:

       Domingo A. Garcia
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                                                    /s/Jordan A. Mayfield




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